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     I1                      IN THE UNITED STATES DISTRICT COURT



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     1                          EASTERN DISTRICT OF CALIFORNIA



11        UNITED STATES OF AMERICA,          )   NO. 1:09-cr-00076 AWI
                                             )
                              Plaintiff,     )   GOVERNMENT'S MOTION AND
                                             )   ORDER TO DISMISS INDICTMENT
13        v.                                 j
                                             )
14        MONIQUE ANAYA,                     )
                                             )
15                            Defendant.     )




17   1         The United States hereby moves to dismiss the Indictment in this




                                                   Respectfully submitted,

                                                   BENJAMIN W. WAGNER
                                                   United States Attorney

                                                   By:       /s/
                                                      MARK E. CULLERS
                                                      MICHELE L. THIELHORN
                                                   Assistant U.S. Attorneys
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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA



 UNITED STATES OF AMERICA,           )   NO. 1:09-cr-00076 AWI
                                     )
                      Plaintiff,     )   ORDER TO DISMISS INDICTMENT
                                     )
 v.                                  )
                                     )
 MONIQUE ANAYA,                      )
                                     )
                      Defendant.     )
                                     )


      In the interests of justice, and upon motion of the United
 States, the above-named Indictment as against defendant Monique Anaya
 is hereby DISMISSED, with prejudice, in the interests of justice.


 SO ORDERED.


 DATED: July 9 , 2012



                                           U.S. District Judge
